Case 2:16-cr-00081-SPC-KCD Document 214 Filed 06/12/17 Page 1 of 2 PageID 871




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

UNITED STATES OF AMERICA

VS.                                                    CASE NO: 2:16-cr-81-FtM-38CM

BROWN LASTER, JR.


                                        ORDER1

      This matter comes before the Court on the Government’s Motions in Limine (Docs.

175; 176) and Brown Laster Jr.’s Motions for Miscellaneous Relief (Docs. 196; 197). The

Court has reviewed the Parties’ Motions, reviewed the Responses (Docs. 180; 202), and

heard argument from counsel both at the final pretrial conference and during trial.

Accordingly, for the reasons stated on the record, the Court hereby rules as follows on

the Motions:

      1. DENIES as moot the Motion in Limine to Preclude Defendants from

          Introducing Evidence Related to the Prosecution of Steven Burch and Herbert

          Battle (Doc. 175).

      2. Grants the Motion in Limine to Preclude Defendants from Advising Jury of

          Penalties They Face (Doc. 176).




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Case 2:16-cr-00081-SPC-KCD Document 214 Filed 06/12/17 Page 2 of 2 PageID 872




      3. GRANTS in part the Motion for Additional Peremptory Challenges (Doc. 196).

         The Court grants the Motion to the extent that the each Defendant shall have

         four peremptory challenges for a total of twelve total peremptory challenges.

      4. GRANTS the Motion to Permit Computer in Courtroom During Trial (Doc. 197).

      DONE AND ORDERED at Fort Myers, Florida, this June 12, 2017.




Copies: Counsel of Record




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